     Case 2:02-cr-80810-DPH ECF No. 142, PageID.495 Filed 08/17/17 Page 1 of 6




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff-Respondent,                     Criminal Case No. 02-80810

v.
                                                        HON. DENISE PAGE
                                             HOOD

LIONEL SORRELLS (D-3),

     Defendant-Petitioner.
________________________________/

            ORDER DENYING MOTION UNDER 28 U.S.C. § 2255
         TO VACATE, SET ASIDE, OR CORRECT SENTENCE [#119]
                                and
          ORDER DENYING CERTIFICATE OF APPEALABILITY

I.      BACKGROUND

        On September 5, 2002, Defendant Lionel Sorrells (“Sorrells”) was charged

in an Indictment with Bank Robbery, Aiding and Abetting (Count One); and

Using, Carrying, Brandishing and Discharging a Firearm During a Crime of

Violence, Aiding and Abetting (Count Two). (Doc # 1) On February 13, 2003,

Sorrells pled guilty to both counts pursuant to a Rule 11 plea agreement, in which

he also admitted to having committed additional offenses and agreed to be

sentenced as if he had been formally convicted of them. (Doc # 48) Sorrells was a

career offender, which gave him an offense level of 29 including a three level


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     Case 2:02-cr-80810-DPH ECF No. 142, PageID.496 Filed 08/17/17 Page 2 of 6




reduction for acceptance of responsibility. Sorrells’s criminal history category was

V, and elevated to criminal history category VI as a career offender.

          The Court imposed a Judgment on November 20, 2003 and sentenced

Sorrells to be imprisoned for 188 months on Count One and 120 months on Count

Two, the sentence on Count Two to run consecutive to the sentence on Count One.

(Doc # 74) The Court sentenced Sorrells to supervised release for a term of three

years. The Court also ordered Defendant to pay $72,372.00 in restitution. Sorrells

did not file an appeal in this matter.

          On January 24, 2005, Sorrells filed his first motion under 28 U.S.C § 2255

(Doc # 87), which this Court denied on the merits. (Doc # 110) Sorrells did not

appeal. On June 24, 2016, Sorrells filed the instant Motion, which this Court

construed as a second or successive Section 2255 motion and transferred to the

Sixth Circuit. (Doc # 119) On February 3, 2017, the Sixth Circuit authorized the

filing of Sorrells’s second or successive Section 2255 motion, reasoning that there

was at least “a fair-minded argument that Johnson requires the invalidation of the

career-offender guideline’s residual clause in cases on collateral review.” (Doc #

132) (quotations and citations omitted).1 The Sixth Circuit remanded the case to

this Court with instructions that the case be held in abeyance pending the Supreme




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    It is noted that Sorrells did not file a separate action under 28 U.S.C. § 2255.
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    Case 2:02-cr-80810-DPH ECF No. 142, PageID.497 Filed 08/17/17 Page 3 of 6




Court’s decision in Beckles v. United States, 137 S. Ct. 886 (2017) (Doc # 132).

On March 6, 2017, the United States Supreme Court issued an opinion in

Beckles. On March 22, 2017, the Court lifted the stay. (Doc # 134) The

Government filed a Response on June 19, 2017.2 (Doc # 139) Sorrells filed a

Reply on July 17, 2017.

II.    ANALYSIS

              A.     Standard of Review

       Section 2255 authorizes a federal prisoner to move the district court to

vacate a sentence. 28 U.S.C. § 2255(a). In order to prevail on a Section 2255

motion, the movant must show: “(1) an error of constitutional magnitude; (2) a

sentence imposed outside of the statutory limits; or (3) an error of fact or law that

was so fundamental as to render the entire proceeding invalid.” Weinberger v.

United States, 268 F.3d 346, 351 (6th Cir. 2001).

              B.     Johnson’s Application to the Sentencing Guidelines

       The instant Motion asks this Court to “deal with any Johnson issues”

Sorrells may have in his case. Johnson v. United States, 135 S. Ct. 2551 (2015), to

which Sorrells refers, is a Supreme Court case that invalidated the residual clause

in the Armed Career Criminal Act of 1984, 18 U.S.C. § 924(e) (“ACCA”), on

vagueness grounds. Id. at 2557. The instant Motion was stayed by the Sixth
2
 The Court ordered the Government to file a response by May 5, 2017. (Doc # 134) Sorrells
correctly notes in his Reply that the Government’s Response was not timely filed. The
Government should have filed a motion for extension of time to respond.
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  Case 2:02-cr-80810-DPH ECF No. 142, PageID.498 Filed 08/17/17 Page 4 of 6




Circuit pending a decision in Beckles to determine whether the residual clause in

the career-offender provision of the advisory federal Sentencing Guidelines,

U.S.S.G. § 4B1.2(a), was also unconstitutionally vague.

      The Supreme Court held in Beckles that the residual clause of the Sentencing

Guidelines is not void for unconstitutional vagueness: “…the advisory Guidelines

do not fix the permissible range of sentences. To the contrary, they merely guide

the exercise of a court’s discretion in choosing an appropriate sentence within the

statutory range. Accordingly, the Guidelines are not subject to a vagueness

challenge under the Due Process Clause. The residual clause in § 4B1.2(a)(2)

therefore is not void for vagueness.” Beckles, 137 S. Ct. at 892.

      Under Beckles, Sorrells’s career offender status and increased guideline

range under the residual clause in Section § 4B1.2(a)(2) are valid.

      The Court further notes that the Government correctly points out that

Sorrells has prior convictions for a crime of violence (a 1992 conviction for

attempted murder and aggravated battery with a firearm) and a controlled

substance offense (a 1999 conviction for delivery of a controlled substance under

50 grams), which would have triggered the career offender guidelines without

relying on the the residual clause in Section § 4B1.2(a)(2).

             C.    Summary




                                          4
  Case 2:02-cr-80810-DPH ECF No. 142, PageID.499 Filed 08/17/17 Page 5 of 6




       Based on the above analysis, and in light of Beckles and Sorrells’s prior

convictions, the Court finds that Sorrells failed to show that he is entitled to

resentencing based on retroactive application of Johnson v. United States, 135 S.

Ct. 2551 (2015). Sorrells is not entitled to relief under 28 U.S.C. § 2255.

III.   CERTIFICATE OF ABEALABILITY

       Rule 22 of the Federal Rules of Civil Procedure provides that an appeal may

not proceed unless a certificate is issued under 28 U.S.C. § 2253(c)(2). Rule 11 of

the Rules Governing Section 2255 Proceedings requires that a district court issue

or deny a certificate of appealability when it enters a final order adverse to the

applicant. A certificate of appealability may issue “only if the applicant has made

a substantial showing of the denial of a constitutional right.” 28 U.S.C. §

2253(c)(2). If a court issues a certificate of appealability, the court must state the

specific issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2). 28

U.S.C. § 2253(c)(2); Fed. R. App. P. 22(b); In re Certificates of Appealability, 106

F.3d 1306, 1307 (6th Cir. 1997).

       A certificate of appealability will not be issued in this case because, as

discussed above, the argument raised by Sorrells in the instant Section 2255

Motion is without merit.

IV.    CONLCUSION

       For the reasons set forth above,


                                           5
  Case 2:02-cr-80810-DPH ECF No. 142, PageID.500 Filed 08/17/17 Page 6 of 6




       IT IS ORDERED that Defendant Lionel Sorrells’s Motion to Vacate, Set

Aside or Correct Sentence under 28 U.S.C. § 2255 [Criminal Case No. 02-80810,

Doc # 119, filed June 24, 2016] is DENIED.

       IT IS FURHTER ORDERED that a certificate of appealability is not issued

in this case.


                         S/Denise Page Hood
                         Denise Page Hood
                         Chief Judge, United States District Court

Dated: August 17, 2017

I hereby certify that a copy of the foregoing document was served upon counsel of
record on August 17, 2017, by electronic and/or ordinary mail.

                         S/LaShawn R. Saulsberry
                         Case Manager




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